              Case 18-14165-SLM                      Doc 1         Filed 03/02/18 Entered 03/02/18 11:32:40                                Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number    (if known)      18-                                              Chapter you are filing under:

                                                                                o Chapter 7
                                                                                n Chapter 11
                                                                                o Chapter 12
                                                                                o Chapter 13                                    o Check if this an
                                                                                                                                     amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Joon
     your government-issued          First name                                                       First name
     picture identification (for
     example, your driver's          Hak
     license or passport).           Middle name                                                      Middle name
     Bring your picture
     identification to your
                                     Lee
     meeting with the trustee.       Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-7696
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Joon Hak Lee                                                                                Case number     (if known)   18-




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      n I have not used any business name or EINs.                   o I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 2 Kathleen Court
                                 Ridgefield, NJ 07657
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Bergen
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any      in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                        mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                     Check one:
     this district to file for
     bankruptcy                  n      Over the last 180 days before filing this petition,     o        Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any                 have lived in this district longer than in any other
                                        other district.                                                  district.

                                 o      I have another reason.                                  o        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 2
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Debtor 1    Joon Hak Lee                                                                                Case number    (if known)   18-


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are    (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                o Chapter 7
                                n   Chapter 11
                                o Chapter 12
                                o Chapter 13


8.   How you will pay the fee   n      I will pay the entire fee when I file my petition . Please check with the clerk’s office in your local court for more details
                                       about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                       order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                       a pre-printed address.
                                o      I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                       The Filing Fee in Installments (Official Form 103A).
                                o      I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                       but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                       applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                       the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the
                                n No.
     last 8 years?              o Yes.
                                            District                                  When                             Case number
                                            District                                  When                             Case number
                                            District                                  When                             Case number



10. Are any bankruptcy
    cases pending or being
                                n No
    filed by a spouse who is    o Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                            Debtor                                                                    Relationship to you
                                            District                                  When                            Case number, if known
                                            Debtor                                                                    Relationship to you
                                            District                                  When                            Case number, if known



11. Do you rent your            o No.        Go to line 12.
    residence?
                                n Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                             n         No. Go to line 12.

                                             o         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                       bankruptcy petition.




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 3
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Debtor 1    Joon Hak Lee                                                                                    Case number   (if known)   18-


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time      n No.       Go to Part 4.
    business?
                                   o Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                               o       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               o       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               o       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               o       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               o       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                   o No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
     U.S.C. § 101(51D).            n No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                               Code.

                                   o Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                   n No.
    alleged to pose a threat       o Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
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Debtor 1    Joon Hak Lee                                                                               Case number    (if known)   18-
Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a
    briefing about credit
                                     n Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                   o I received a briefing from an approved credit
                                                                                                       counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check       o I received a briefing from an approved credit               o I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not elig ble to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your              o I certify that I asked for credit counseling                o I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                     o   I am not required to receive a briefing about             o I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of :

                                         o     Incapacity.                                             o Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                         o     Disability.                                             o Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                         o     Active duty.                                            o Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Joon Hak Lee                                                                                  Case number     (if known)   18-

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                           o No. Go to line 16b.
                                           n Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           o No. Go to line 16c.
                                           o Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under
    Chapter 7?
                                 n No.     I am not filing under Chapter 7. Go to line 18.


     Do you estimate that        o Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distr bute to unsecured creditors?
     property is excluded and
     administrative expenses               o No
     are paid that funds will
     be available for                      o Yes
     distribution to unsecured
     creditors?

18. How many Creditors do
    you estimate that you
                                 n 1-49                                           o 1,000-5,000                                o 25,001-50,000
                                 o 50-99                                          o 5001-10,000                                o 50,001-100,000
    owe?
                                 o 100-199                                        o 10,001-25,000                              o More than100,000
                                 o 200-999

19. How much do you
    estimate your assets to
                                 n $0 - $50,000                                   o $1,000,001 - $10 million                   o $500,000,001 - $1 billion
                                 o $50,001 - $100,000                             o $10,000,001 - $50 million                  o $1,000,000,001 - $10 billion
    be worth?
                                 o $100,001 - $500,000                            o $50,000,001 - $100 million                 o $10,000,000,001 - $50 billion
                                 o $500,001 - $1 million                          o $100,000,001 - $500 million                o More than $50 billion

20. How much do you              o $0 - $50,000                                   n $1,000,001 - $10 million                   o $500,000,001 - $1 billion
    estimate your liabilities    o $50,001 - $100,000                                                                          o $1,000,000,001 - $10 billion
    to be?                                                                        o $10,000,001 - $50 million
                                 o $100,001 - $500,000                            o $50,000,001 - $100 million                 o $10,000,000,001 - $50 billion
                                 o $500,001 - $1 million                          o $100,000,001 - $500 million                o More than $50 billion

Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Joon Hak Lee
                                 Joon Hak Lee                                                      Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     March 1, 2018                                     Executed on
                                                 MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 6
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Debtor 1   Joon Hak Lee                                                                                    Case number   (if known)   18-




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about elig bility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Thaddeus R. Maciag, Esq.                                        Date        March 1, 2018
                                Signature of Attorney for Debtor                                               MM / DD / YYYY

                                Thaddeus R. Maciag, Esq.
                                Printed name

                                MACIAG LAW, LLC
                                Firm name

                                475 Wall Street
                                Princeton, NJ 08540-1509
                                Number, Street, City, State & ZIP Code

                                Contact phone     908-704-8800                                Email address       MaciagLaw1@aol.com
                                028411981
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                     Joon Hak Lee
                              First Name                    Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number            18-
 (if known)
                                                                                                                                               o Check if this is an
                                                                                                                                                   amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                                                                                                                   12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                 Unsecured claim

 1                                                                   What is the nature of the claim?               100 Grand Avenue,            $ $563,207.00
                                                                                                                    Leonia, NJ 07605
              U.S. Bank, as Sucessor Trustee
              c-o Fein Such Kahn & Shepard                           As of the date you file, the claim is: Check all that apply
              7 Century Drive, Suite 201                             o       Contingent
              Parsippany, NJ 07054                                   o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
              Contact                                                n        Yes. Total claim (secured and unsecured)                $ $983,610.00
                                                                                    Value of security:                               - $ $420,403.00
              Contact phone                                                         Unsecured claim                                    $ $563,207.00


 2                                                                   What is the nature of the claim?               100 Grand Avenue,            $ $160,000.00
                                                                                                                    Leonia, NJ 07605
              GMAC Loans
              350 Highland Drive                                     As of the date you file, the claim is: Check all that apply
              Lewisville, TX 75067                                   o       Contingent
                                                                     o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No


B104 (Official Form 104)                          For Individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims                            Page 1

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 Debtor 1          Joon Hak Lee                                                                      Case number (if known)            18-

            Contact                                                  n        Yes. Total claim (secured and unsecured)                $ $160,000.00
                                                                                    Value of security:                               - $ $420,403.00
            Contact phone                                                           Unsecured claim                                    $ $160,000.00


 3                                                                   What is the nature of the claim?               100 Grand Avenue,           $ $96,400.00
                                                                                                                    Leonia, NJ 07605
            Bank of America
            4909 Savarese Circle                                     As of the date you file, the claim is: Check all that apply
            Tampa, FL 33634                                          o       Contingent
                                                                     o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                $ $96,400.00
                                                                                    Value of security:                               - $ $420,403.00
            Contact phone                                                           Unsecured claim                                    $ $96,400.00


 4                                                                   What is the nature of the claim?               unsecured loan              $ $65,000.00
            Industrial Bank of Korea
            Korea Investment & Securities                            As of the date you file, the claim is: Check all that apply
            Bldg                                                     o       Contingent
            Yeongdeungpo-88 Capitol                                  o       Unliquidated
            Seoul, Korea 150-745                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?               credit card                 $ $12,183.00
            Hana SK Visa Credit Card
            66 Euljiro Jung-gu                                       As of the date you file, the claim is: Check all that apply
            Seeoul, South Korea                                      o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?               credit card                 $ $12,183.00
            Hyundai Card M(LGU+)
            Uisadang-daero                                           As of the date you file, the claim is: Check all that apply
            Yeongdeungpo-gu                                          o       Contingent
            Seoul, South Korea 07237                                 o       Unliquidated


B 104 (Official Form 104)                         For Individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 2

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 Debtor 1          Joon Hak Lee                                                                      Case number (if known)            18-

                                                                     o        Disputed
                                                                     n        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?                                          $ $9,385.00
            Choimin Kyu
            547A Orchard Ave. #1                                     As of the date you file, the claim is: Check all that apply
            Palisades Park, NJ 07650                                 o       Contingent
                                                                     o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?               credit card                $ $8,500.00
            SamsungCard Mastercard
            Samsung Main Bldg., 67                                   As of the date you file, the claim is: Check all that apply
            Sejongdaero, Jung-gu                                     o       Contingent
            Seoul, South Korea 04514                                 o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?               credit card                $ $6,815.00
            Discover Financial
            P.O. Box 30943                                           As of the date you file, the claim is: Check all that apply
            Salt Lake City, UT 84130-0943                            o       Contingent
                                                                     o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $




B 104 (Official Form 104)                         For Individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase com                                                                                     Best Case Bankruptcy
             Case 18-14165-SLM                         Doc 1           Filed 03/02/18 Entered 03/02/18 11:32:40                                Desc Main
                                                                      Document      Page 11 of 37

 Debtor 1          Joon Hak Lee                                                                      Case number (if known)            18-

 10                                                                  What is the nature of the claim?               credit card                $ $3,500.00
            LotteCard Bestshop Mastercard
            Jung-gu 3 Seowol-ro                                      As of the date you file, the claim is: Check all that apply
            Seoul, South Korea                                       o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?               credit card                $ $2,733.00
            Silver/Asiana Airlines Visa
            c-o Midland Funding                                      As of the date you file, the claim is: Check all that apply
            P.O. Box 939069                                          o       Contingent
            San Diego, CA 92193                                      o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?                                          $ $800.00
            Fazzio Law
            164 Franklin Turnpike                                    As of the date you file, the claim is: Check all that apply
            Mahwah, NJ 07430                                         o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?               construction & repairs $ $700.00
            Wendy Madrigal
            166 Centre Avenue, #2                                    As of the date you file, the claim is: Check all that apply
            Secaucus, NJ 07094                                       o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No



B 104 (Official Form 104)                         For Individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 4

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             Case 18-14165-SLM                         Doc 1           Filed 03/02/18 Entered 03/02/18 11:32:40                                Desc Main
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 Debtor 1          Joon Hak Lee                                                                      Case number (if known)            18-

            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?               utility bill               $ $515.00
            Verizon
            c-o Jefferson Capital Systems                            As of the date you file, the claim is: Check all that apply
            16 McLeland Road                                         o       Contingent
            Saint Cloud, MN 56303                                    o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?               construction & repairs $ $275.00
            JP Construction, LLC
            226 Jersey Ave.                                          As of the date you file, the claim is: Check all that apply
            Cliffside Park, NJ 07010                                 o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?                                          $ $250.00
            Cousins Tree Services
            PO Box 8168                                              As of the date you file, the claim is: Check all that apply
            Englewood, NJ 07631                                      o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?               services                   $ $220.00
            A&A Drycleaners of Leonia
            422 Broad Ave.                                           As of the date you file, the claim is: Check all that apply
            Leonia, NJ 07605                                         o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                             None of the above apply


B 104 (Official Form 104)                         For Individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims                       Page 5

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             Case 18-14165-SLM                         Doc 1           Filed 03/02/18 Entered 03/02/18 11:32:40                                  Desc Main
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 Debtor 1          Joon Hak Lee                                                                      Case number (if known)            18-

                                                                     n
                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?               Verizon Wireless            $ $0.00
                                                                                                                    Southeast;
                                                                                                                    SilverAsiana Airlines
                                                                                                                    Visa
            Midland Funding
            PO Box 939069                                            As of the date you file, the claim is: Check all that apply
            San Diego, CA 92193                                      o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?               100 Grand Avenue,           $ Unknown
                                                                                                                    Leonia, NJ 07605
            Select Portfolio Servicing
            10401 Deerwood Park Bv                                   As of the date you file, the claim is: Check all that apply
            Jacksonville, FL 32256                                   o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                $ Unknown
                                                                                    Value of security:                               - $ $420,403.00
            Contact phone                                                           Unsecured claim                                    $ Unknown


 20                                                                  What is the nature of the claim?               utility bill                $ $0.00
            Verizon Wireless Southeast
            PO Box 26055                                             As of the date you file, the claim is: Check all that apply
            Minneapolis, MN 55426-0055                               o       Contingent
                                                                     o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$


B 104 (Official Form 104)                         For Individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 6

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 Debtor 1          Joon Hak Lee                                                                      Case number (if known)            18-

            Contact phone                                                           Unsecured claim                                    $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Joon Hak Lee                                                                 X
       Joon Hak Lee                                                                          Signature of Debtor 2
       Signature of Debtor 1


       Date       March 1, 2018                                                              Date




B 104 (Official Form 104)                         For Individual Chapter 11 Cases List of Creditors Who Have the 20 Largest Unsecured Claims                     Page 7

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              Case 18-14165-SLM                        Doc 1          Filed 03/02/18 Entered 03/02/18 11:32:40                                      Desc Main
                                                                     Document      Page 15 of 37
 Fill in this information to identify your case:

 Debtor 1                    Joon Hak Lee
                             First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)         First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number           18-
 (if known)
                                                                                                                                                o Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       o No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       n Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                              Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                    Do not deduct the      that supports this     portion
                                                                                                              value of collateral.   claim                  If any
 2.1     Bank of America                           Describe the property that secures the claim:                  $96,400.00             $420,403.00          $96,400.00
         Creditor's Name
                                                   100 Grand Avenue, Leonia, NJ
                                                   07605
                                                   As of the date you file, the claim is: Check all that
         4909 Savarese Circle                      apply.
         Tampa, FL 33634                           o Con ingent
         Number, Street, City, State & Zip Code    o Unliquidated
                                                   n Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   n An agreement you made (such as mortgage or secured
 o Debtor 2 only                                        car loan)

 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                o Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        x399

 2.2     Borough of Leonia                         Describe the property that secures the claim:                    $2,730.86            $420,403.00                  $0.00
         Creditor's Name
                                                   100 Grand Avenue, Leonia, NJ
         Tax Collector                             07605
         Municipal Building
                                                   As of the date you file, the claim is: Check all that
         312 Broad Avenue                          apply.
         Leonia, NJ 07605                          o Con ingent
         Number, Street, City, State & Zip Code    o Unliquidated
                                                   o Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   o An agreement you made (such as mortgage or secured
                                                        car loan)
 o Debtor 2 only
 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                n Other (including a right to offset)    Tax Lien
       community debt

 Date debt was incurred                                     Last 4 digits of account number        1501,L25


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase com                                                                                          Best Case Bankruptcy
            Case 18-14165-SLM                           Doc 1         Filed 03/02/18 Entered 03/02/18 11:32:40                              Desc Main
                                                                     Document      Page 16 of 37
 Debtor 1 Joon Hak Lee                                                                                     Case number ( if know)   18-
              First Name                  Middle Name                     Last Name



 2.3    GMAC Loans                                 Describe the property that secures the claim:                $160,000.00          $420,403.00   $160,000.00
        Creditor's Name                            100 Grand Avenue, Leonia, NJ
                                                   07605
                                                   As of the date you file, the claim is: Check all that
        350 Highland Drive                         apply.
        Lewisville, TX 75067                       o Con ingent
        Number, Street, City, State & Zip Code     o Unliquidated
                                                   n Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   n An agreement you made (such as mortgage or secured
 o Debtor 2 only                                        car loan)

 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                o Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        x985

 2.4    Select Portfolio Servicing                 Describe the property that secures the claim:                   Unknown           $420,403.00       Unknown
        Creditor's Name                            100 Grand Avenue, Leonia, NJ
                                                   07605
                                                   As of the date you file, the claim is: Check all that
        10401 Deerwood Park Bv                     apply.
        Jacksonville, FL 32256                     o Con ingent
        Number, Street, City, State & Zip Code     o Unliquidated
                                                   o Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   o An agreement you made (such as mortgage or secured
                                                        car loan)
 o Debtor 2 only
 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                n Other (including a right to offset)    Servicer for US Bank
       community debt

 Date debt was incurred                                     Last 4 digits of account number        x625


 2.5
        U.S. Bank, as Sucessor
        Trustee                                    Describe the property that secures the claim:                $983,610.00          $420,403.00   $563,207.00
        Creditor's Name
                                                   100 Grand Avenue, Leonia, NJ
        c-o Fein Such Kahn &                       07605
        Shepard
        7 Century Drive, Suite                     As of the date you file, the claim is: Check all that
                                                   apply.
        201                                        o Con ingent
        Parsippany, NJ 07054
        Number, Street, City, State & Zip Code     o Unliquidated
                                                   n Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 n Debtor 1 only                                   n An agreement you made (such as mortgage or secured
 o Debtor 2 only                                        car loan)

 o Debtor 1 and Debtor 2 only                      o Statutory lien (such as tax lien, mechanic's lien)
 o At least one of the debtors and another         o Judgment lien from a lawsuit
 o Check if this claim relates to a                n Other (including a right to offset)    First Mortgagee
       community debt

 Date debt was incurred                                     Last 4 digits of account number        8515




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
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            Case 18-14165-SLM                          Doc 1          Filed 03/02/18 Entered 03/02/18 11:32:40                               Desc Main
                                                                     Document      Page 17 of 37
 Debtor 1 Joon Hak Lee                                                                             Case number ( if know)       18-
              First Name                Middle Name                     Last Name


   Add the dollar value of your entries in Column A on this page. Write that number here:                      $1,242,740.86
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                     $1,242,740.86

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            page 3 of 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase com                                                                                     Best Case Bankruptcy
               Case 18-14165-SLM                        Doc 1         Filed 03/02/18 Entered 03/02/18 11:32:40                                             Desc Main
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 Fill in this information to identify your case:

 Debtor 1                    Joon Hak Lee
                             First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)         First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY

 Case number           18-
 (if known)
                                                                                                                                                      o Check if this is an
                                                                                                                                                            amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       n No. Go to Part 2.
       o Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

       o No. You have nothing to report in this part. Submit     his form to the court with your other schedules.

       n Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the o her creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                               Total claim

 4.1          A&A Drycleaners of Leonia                               Last 4 digits of account number                                                                         $220.00
              Nonpriority Creditor's Name
              422 Broad Ave.                                          When was the debt incurred?
              Leonia, NJ 07605
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              n Debtor 1 only                                         o Con ingent
              o Debtor 2 only                                         o Unliquidated
              o Debtor 1 and Debtor 2 only                            o Disputed
              o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                o Student loans
              debt                                                    o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              n No                                                    o Debts to pension or profit-sharing plans, and o her similar debts
              o Yes                                                   n Other. Specify      services




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                    Page 1 of 7
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            Case 18-14165-SLM                          Doc 1          Filed 03/02/18 Entered 03/02/18 11:32:40                                         Desc Main
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 Debtor 1 Joon Hak Lee                                                                                    Case number ( if know)           18-

 4.2      Choimin Kyu                                                Last 4 digits of account number       5708                                                 $9,385.00
          Nonpriority Creditor's Name
          547A Orchard Ave. #1                                       When was the debt incurred?
          Palisades Park, NJ 07650
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               n Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify

 4.3      Cousins Tree Services                                      Last 4 digits of account number                                                               $250.00
          Nonpriority Creditor's Name
          PO Box 8168                                                When was the debt incurred?
          Englewood, NJ 07631
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify

 4.4      Discover Financial                                         Last 4 digits of account number       1109                                                 $6,815.00
          Nonpriority Creditor's Name
          P.O. Box 30943                                             When was the debt incurred?
          Salt Lake City, UT 84130-0943
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               n Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify     credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 2 of 7
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 Debtor 1 Joon Hak Lee                                                                                    Case number ( if know)           18-

 4.5      Fazzio Law                                                 Last 4 digits of account number                                                               $800.00
          Nonpriority Creditor's Name
          164 Franklin Turnpike                                      When was the debt incurred?
          Mahwah, NJ 07430
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify

 4.6      Hana SK Visa Credit Card                                   Last 4 digits of account number       x160                                               $12,183.00
          Nonpriority Creditor's Name
          66 Euljiro Jung-gu                                         When was the debt incurred?
          Seeoul, South Korea
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify     credit card


 4.7      Hyundai Card M(LGU+)                                       Last 4 digits of account number       x505                                               $12,183.00
          Nonpriority Creditor's Name
          Uisadang-daero                                             When was the debt incurred?
          Yeongdeungpo-gu
          Seoul, South Korea 07237
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify     credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 3 of 7
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 Debtor 1 Joon Hak Lee                                                                                    Case number ( if know)           18-

 4.8      Industrial Bank of Korea                                   Last 4 digits of account number                                                           $65,000.00
          Nonpriority Creditor's Name
          Korea Investment & Securities Bldg                         When was the debt incurred?
          Yeongdeungpo-88 Capitol
          Seoul, Korea 150-745
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify     unsecured loan


 4.9      JP Construction, LLC                                       Last 4 digits of account number                                                               $275.00
          Nonpriority Creditor's Name
          226 Jersey Ave.                                            When was the debt incurred?
          Cliffside Park, NJ 07010
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify     construction & repairs


 4.1
 0        LotteCard Bestshop Mastercard                              Last 4 digits of account number       x342                                                 $3,500.00
          Nonpriority Creditor's Name
          Jung-gu 3 Seowol-ro                                        When was the debt incurred?
          Seoul, South Korea
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify     credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 4 of 7
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 Debtor 1 Joon Hak Lee                                                                                    Case number ( if know)           18-

 4.1
 1        Midland Funding                                            Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          PO Box 939069                                              When was the debt incurred?
          San Diego, CA 92193
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
                                                                                          Verizon Wireless Southeast; SilverAsiana
          o Yes                                                      n Other. Specify     Airlines Visa

 4.1
 2        SamsungCard Mastercard                                     Last 4 digits of account number       x651                                                 $8,500.00
          Nonpriority Creditor's Name
          Samsung Main Bldg., 67                                     When was the debt incurred?
          Sejongdaero, Jung-gu
          Seoul, South Korea 04514
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify     credit card


 4.1
 3        Silver/Asiana Airlines Visa                                Last 4 digits of account number       x150                                                 $2,733.00
          Nonpriority Creditor's Name
          c-o Midland Funding                                        When was the debt incurred?
          P.O. Box 939069
          San Diego, CA 92193
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Con ingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and o her similar debts
          o Yes                                                      n Other. Specify     credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 5 of 7
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 Debtor 1 Joon Hak Lee                                                                                    Case number ( if know)           18-

 4.1
 4         Verizon                                                   Last 4 digits of account number                                                               $515.00
           Nonpriority Creditor's Name
           c-o Jefferson Capital Systems                             When was the debt incurred?
           16 McLeland Road
           Saint Cloud, MN 56303
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           n Debtor 1 only                                           o Con ingent
           o Debtor 2 only                                           o Unliquidated
           o Debtor 1 and Debtor 2 only                              n Disputed
           o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community                  o Student loans
           debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           n No                                                      o Debts to pension or profit-sharing plans, and o her similar debts
           o Yes                                                     n Other. Specify     utility bill


 4.1
 5         Verizon Wireless Southeast                                Last 4 digits of account number                                                            Unknown
           Nonpriority Creditor's Name
           PO Box 26055                                              When was the debt incurred?
           Minneapolis, MN 55426-0055
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           n Debtor 1 only                                           o Con ingent
           o Debtor 2 only                                           o Unliquidated
           o Debtor 1 and Debtor 2 only                              n Disputed
           o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community                  o Student loans
           debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           n No                                                      o Debts to pension or profit-sharing plans, and o her similar debts
           o Yes                                                     n Other. Specify     utility bill


 4.1
 6         Wendy Madrigal                                            Last 4 digits of account number                                                               $700.00
           Nonpriority Creditor's Name
           166 Centre Avenue, #2                                     When was the debt incurred?
           Secaucus, NJ 07094
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           n Debtor 1 only                                           o Con ingent
           o Debtor 2 only                                           o Unliquidated
           o Debtor 1 and Debtor 2 only                              o Disputed
           o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community                  o Student loans
           debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           n No                                                      o Debts to pension or profit-sharing plans, and o her similar debts
           o Yes                                                     n Other. Specify     construction & repairs

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 6 of 7
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 Debtor 1 Joon Hak Lee                                                                                  Case number ( if know)    18-
 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                               6a.      $                      0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $                      0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $                      0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                              6f.      $                      0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $               123,059.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $               123,059.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 7
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 Fill in this information to identify your case:

 Debtor 1                       Joon Hak Lee
                                First Name                  Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)            First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number              18-
 (if known)
                                                                                                                                   o Check if this is an
                                                                                                                                        amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


        n       No

        o Yes. Name of person                                                                                    Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                 Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Joon Hak Lee                                                           X
              Joon Hak Lee                                                               Signature of Debtor 2
              Signature of Debtor 1

              Date       March 1, 2018                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1            Joon Hak Lee

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of New Jersey

 Case number         18-                                                                                 o Check if this is an amended filing
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                            12/15

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


       o Not married. Fill out Column A, lines 2-11.

       o Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       n Married and your spouse is NOT filing with you.                Fill out Column A, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
    you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A              Column B
                                                                                                         Debtor 1              Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            3,188.08      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                              $            0.00     $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contr butions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3 .                                           $            0.00     $
  5. Net income from operating a
     business, profession, or farm                 Debtor 1                   Debtor 2
       Gross receipts (before all deductions)                              $       0.00
       Ordinary and necessary operating expenses                          -$       0.00
       Net monthly income from a business, profession, or farm $                   0.00 Copy here -> $                0.00     $
  6. Net income from rental and
     other real property                           Debtor 1                   Debtor 2
       Gross receipts (before all deductions)                              $       0.00
       Ordinary and necessary operating expenses                          -$       0.00
       Net monthly income from rental or other real property              $        0.00 Copy here -> $                0.00     $




Official Form 122B                                        Chapter 11 Statement of Your Current Monthly Income                                             page 1
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 Debtor 1     Joon Hak Lee                                                                            Case number (if known)   18-

                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2

                                                                                                  $                  0.00      $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                    $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                       $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                                                                                                  $                            $
                                                                                                  $                  0.00      $
                  Total amounts from separate pages, if any.                                   + $                   0.00      $

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                          $    3,188.08           +$                     =$    3,188.08




Official Form 122B                                        Chapter 11 Statement of Your Current Monthly Income                                         page 2
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 Debtor 1    Joon Hak Lee                                                                          Case number (if known)   18-




 Part 2:       Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X /s/ Joon Hak Lee
                Joon Hak Lee
                Signature of Debtor 1

        Date March 1, 2018
             MM / DD / YYYY




Official Form 122B                                        Chapter 11 Statement of Your Current Monthly Income                                         page 3
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property . Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                       $1,167   filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                       $1,717   total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 3

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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx .
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re       Joon Hak Lee                                                                                        Case No.
                                                                                  Debtor(s)                      Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                     $ per applications to the Court
             Prior to the filing of this statement I have received                                           $                 11,900.00
             Balance Due                                                                                     $ per applications to the Court

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Compensation as allowed by the Court per fee statements and fee applications to be filed in the ordinary course.


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 1, 2018                                                                   /s/ Thaddeus R. Maciag, Esq.
     Date                                                                         Thaddeus R. Maciag, Esq.
                                                                                  Signature of Attorney
                                                                                  MACIAG LAW, LLC
                                                                                  475 Wall Street
                                                                                  Princeton, NJ 08540-1509
                                                                                  908-704-8800
                                                                                  MaciagLaw1@aol.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Joon Hak Lee                                                                           Case No.   18-
                                                                                   Debtor(s)       Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      March 1, 2018                                               /s/ Joon Hak Lee
                                                                        Joon Hak Lee
                                                                        Signature of Debtor




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                        A&A Drycleaners of Leonia
                        422 Broad Ave.
                        Leonia, NJ 07605


                        Bank of America
                        4909 Savarese Circle
                        Tampa, FL 33634


                        Borough of Leonia
                        Tax Collector
                        Municipal Building
                        312 Broad Avenue
                        Leonia, NJ 07605


                        Choimin Kyu
                        547A Orchard Ave. #1
                        Palisades Park, NJ 07650


                        Cousins Tree Services
                        PO Box 8168
                        Englewood, NJ 07631


                        Discover Financial
                        P.O. Box 30943
                        Salt Lake City, UT 84130-0943


                        Fazzio Law
                        164 Franklin Turnpike
                        Mahwah, NJ 07430


                        GMAC Loans
                        350 Highland Drive
                        Lewisville, TX 75067


                        Hana SK Visa Credit Card
                        66 Euljiro Jung-gu
                        Seeoul, South Korea


                        Hyundai Card M(LGU+)
                        Uisadang-daero
                        Yeongdeungpo-gu
                        Seoul, South Korea 07237
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                    Industrial Bank of Korea
                    Korea Investment & Securities Bldg
                    Yeongdeungpo-88 Capitol
                    Seoul, Korea 150-745


                    JP Construction, LLC
                    226 Jersey Ave.
                    Cliffside Park, NJ 07010


                    LotteCard Bestshop Mastercard
                    Jung-gu 3 Seowol-ro
                    Seoul, South Korea


                    Midland Funding
                    PO Box 939069
                    San Diego, CA 92193


                    SamsungCard Mastercard
                    Samsung Main Bldg., 67
                    Sejongdaero, Jung-gu
                    Seoul, South Korea 04514


                    Select Portfolio Servicing
                    10401 Deerwood Park Bv
                    Jacksonville, FL 32256


                    Silver/Asiana Airlines Visa
                    c-o Midland Funding
                    P.O. Box 939069
                    San Diego, CA 92193


                    U.S. Bank, as Sucessor Trustee
                    c-o Fein Such Kahn & Shepard
                    7 Century Drive, Suite 201
                    Parsippany, NJ 07054


                    Verizon
                    c-o Jefferson Capital Systems
                    16 McLeland Road
                    Saint Cloud, MN 56303


                    Verizon Wireless Southeast
                    PO Box 26055
                    Minneapolis, MN 55426-0055
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                    Wendy Madrigal
                    166 Centre Avenue, #2
                    Secaucus, NJ 07094
